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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                         CASE NO. 3:14cr74/LAC

LUIS MANUEL MENDOZA-JUAREZ,
      Defendant.
___________________________________________/

                             SENTENCE AND JUDGMENT


       Defendant, Luis Manuel Mendoza-Juarez, is hereby sentenced on each of Counts I and
III to probation for a period of one day, to run concurrent one with the other, with credit for
time served.
       Defendant has no further obligations to this Court. This case is closed.


       ORDERED this 8 th day of June, 2015.



                                           s /L.A. Collier
                                           LACEY A. COLLIER
                                           Senior United States District Judge
